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% A 0 2458   (Rev. 06105) Judgment in a Criminal Case             #846
             Sheet I




                       SOUTHERN                                  District of                                      ILLINOIS

         UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                             v.
             TERRY MONTREL ROGERS                                         Case Number:           4:06CR40029-004-JPG

                                                                          USM Number:            07254-025

                                                                           Brian K. Trentman
                                                                          Defendant's Attorney
THE DEFENDANT:
Gpleaded guilty to count(s)          1 of the 6th Superseding Indictment
Elpleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offensr                                                           Offense Ended             Count
 21 u.'s.c.J34k                                                         nr Mom of CoMElloe B&
                                   ~onsglm&'& ql&itiibute 66. ~ r a r n s                                      4/27/2006                ,I        'P‘




       The defendant is sentenced as provided in pages 2 through              10          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
0Count(s)                                                  is         are dismissed on the motion of the United States.

         It 1s ordered that the dcfcndant must notiiy rhe Un/ted States attorney for this d~stnctw ~ t h ~30n da r of any change oinanie, rcs~dence.
or maling address unt~la l l tines, restlturlon, costs, and spec~alassessments unposed by th~s~udgment   are f u h paid. If ordered ro pay re,tltutlon,
the dciendant must notify rhc ioun and llnited States attorney of mtenal changes in economlc clrsumrmnccs.




                                                                                                 I1   I-      "
                                                                          Signature of Judg      *


                                                                          J. Phil Gilbert                               District Judge
                                                                          Name of Judge                                Title of Judge


                                                                           &&-
                                                                          Date
                                                                                                      /,<
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s               Sheet 2 - Imprisonment


 DEFENDANT: TERRY MONTREL ROGERS
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                                                                 IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  120 months on Count 1 of the 6th Superseding Indictment



      O/ The court makes the following recommendations to the Bureau of Prisons:
  That the defendant be placed in the Intensive Drug Treatment Program.



      @ The defendant is remanded to the custody of the United States Marshal.
      [7 The defendant shall surrender to the United States Marshal for this district:

                   at                                     a.m.         p.m.     on
                   as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                  before 2 p.m. on

           [7      as notified by the United States Marshal.
                  as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                            to

 at                                                      , with a certified copy of this judgment.


                                                                                                        UNITED STATES MARSHAL



                                                                              BY
                                                                                                     DEPUTY LINITED STATES MARSHAL
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             Sheet 3 -Supervised Release


 DEFENDANT: TERRY MONTREL ROGERS
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                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :

  5 years on Count 1 of the 6th Superseding Indictment.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall su{mit to one drug test within 15 days of release from imprisonment and at least two period~cdrug tests
 thereafter, as deterrmned by the court.
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
         The defendant shall not possess a fuearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
         The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule o f l ~ a ~ m e nsheet
                            t s of thlsjudgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month,
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall suppo~this or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation oficer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, dlstribute, or administer any
           conholled substance or any paraphemaha related to any controlled substances, except as prescrtbed by a physician;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not asroc13te\v~thany persons en dged in cr~rnlnalact~v~ty
                                                                                       and bhall not a3bociate w ~ t any
                                                                                                                      l ~ prrson con\.~cted
                                                                                                                                          ot'a
           felony, unless gr3ntcd pcrmiss~onto do so by the protauon officer,
  10)      the defendant shall p e p i t a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed ~nplain vtew of the probat~onofficer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permiss~onof the court; and
   13)     as dlrccted b) thc robatlun officer, the defendant shall not~f)third panics oirisks that may bs occasioned by the dcicndant's cr~miaal
           rxord or            hlstoly or charactenbttcs and shall permit the probatlon officer to m k e such not~ficat~ons   and to         the
           dcicndant s cornpltance w~thsuch notificatton requlremenr
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           Sheet 3C - Supervised Release
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                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income, whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

  X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
  anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
  immediately notify the probation officer of the receipt of any indicated monies.

 X Based on the defendant's history of substance abuse, the Court is exercising it's discretion and ordering that the
 defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence and/ or participation in a residential treatment facility. The number of tests shall not exceed 52 tests in a one
 year period. Any participation will require complete abstinence from all alcoholic beverages. The defendant shall pay for
 the costs associated with substance abuse counseling andlor testing based on a copay sliding fee scale approved by the
 United States Probation Office. Copay shall never exceed the total costs of counseling.

  X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
  conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
  reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
  may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
  search pursuant to this condition.

  X The defendant shall cooperate in the collection of DNA.

  X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis
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           Sheet 5 -Criminal Monetary Penalties                 #850
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                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetaly penalties under the schedule of payments on Sheet 6.

                       Assessment                                       -
                                                                        Fine                                 Restitution
 TOTALS            $ 100.00                                          $ 200.00                              $ 0.00



      The determination of restitution is deferred until   -. An Amended Judgment in a Criminal Case(A0 245C) will be entered
      after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise jn
      the pnorlty order or percentage payment column%elow. However, pursuant to 18 Qs.8. 5 36646), all nonfederal vlctlms must be pald
      before the United States is paid.

 Name of Pavee                                                           Tntal*                Restitution Ordered Priority or Percentaee




 TOTALS                               $                      0.00            $                       0.00


       Restitution amount ordered pursuant to plea agreement $

 C]    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(fj. All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       g( the interest requirement is waived for the        @ fine           restitution
       C] the interest requirement for the            fme           restitution is modified as follows:


 * Findings for the total amount of losses are re uired under Chapters 109A, 110,110A, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 199%.
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                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetarypenalties are due as follows:

 A    @ Lump sum payment of $                                due immediately, balance due

                 not later than                                   ,Or
            IJ   in accordance                C,       D,    IJ    E, or         F below; or

 B         Payment to begin immediately (may be combined with               C,          D, or     @F below); or

 C          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E          Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F          Special instructions regarding the payment of criminal monetary penalties:
            While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income, whichever is greater, toward his fine.




 1:nlcss the soun has cxprcs,l ordered othen\,ise, if t h ~judgment
                                                            s       impo,es imprisonmcnt. a .men[ of rr~minalnionetaly penalties is d u ~dunn
                                                                                                                                         .
 ~n~pr~sonrnent.  A11 cr1rnln;lymoneta pcnaltlrs, except those payments nude thou& tie Federal bureau of I'risons' Inmate FinansiJ
 Reponsihil~lyProgram arc nude t o x c clerk ofthc soufl.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate,




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of'prosecut~onand court costs.
